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 4   Attorney for Defendant
     NICHOLAS ROMAN
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 8
                          UNITED STATES DISTRICT COURT
 9
                        EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,               No. CR: 10-CR-00477-LKK-5
13
                 Plaintiff,
14                                           STIPULATION AND
                                             ORDER RE: MODIFICATION OF
15          v.                               TERMS OF PRETRIAL RELEASE

16
     NICHOLAS ROMAN,
17
                 Defendant.
18
                                  /
19

20          IT IS HEREBY STIPULATED between Plaintiff, United States,

21   through their attorney of record, Assistant United States

22   Attorney Michael D. Anderson and Defendant, Nicholas Roman,

23   through his attorney, Lisa B. Meier, with the approval of United

24   States Pretrial Officer Darryl Walker and Northern District

25   Supervising Pretrial Services officer Richard Sarlotte, that

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 1   Special Condition of Release #13, be removed in its entirety.1

 2   Special Condition of Release #13 states:

 3        You shall participate in the home confinement program
          components and abide by all the requirements of the
 4        program, which include electronic monitoring.

 5        CURFEW:   You are subject to a curfew as directed by
          the pretrial services officer.
 6
          You shall, in accordance with this release order, have
 7        a home monitoring unit installed in your residence, a
          radio frequency transmitter device attached to your
 8        person, and shall comply with all instructions for the
          use and operation of said devices to you by the
 9        Pretrial Services Agency and employees of the
          monitoring company.
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12   Respectfully Submitted,

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14   /S/MICHAEL ANDERSON                     /S/LISA B. MEIER
     MICHAEL ANDERSON                        LISA B. MEIER
15   Assistant U.S. Attorney                 Attorney for Defendant
                                             NICHOLAS ROMAN
16   Dated: May 24, 2012                     Dated: May 24, 2012

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18        IT IS SO ORDERED.

19   Dated: May 25, 2012.

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27          See Declaration of Counsel in Support of Stipulation and
     [Proposed] Order For Modification of Terms of Pretrial Release,
28   filed herewith, which sets forth the basis for this stipulation.

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